Case 1:17-cv-00799-RGA Document 72 Filed 07/25/18 Page 1 of 2 PageID #: 1982




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

OMEROS CORPORATION,                              )
                                                 )
                      Plaintiff,                 )
                                                 )
               V.                                )   C.A. No. 17-799 (RGA)
                                                 )
SANDOZ INC.,                                     )
                                                 )
                      Defendant.                 )


               STIPULATION AND ~ ] ORDER OF DISMISSAL

       Pursuant to Rule 41(a)(l) of the Rules of Civil Procedure, IT IS HEREBY

STIPULATED AND AGREED, by and between plaintiff Omeros Corporation and defendant

Sandoz Inc., through their undersigned counsel and subject to the approval of the Court, that

       (i)     On May 9, 2018, Sandoz submitted a patent amendment to its pending ANDA

               207841 i.n which it revised its Patent and Exclusivity Certification to reflect

               Paragraph III Certification with respect to U.S. Patents 8,173,707; 8,586,633;

               9,066,856; 9,278,101; 9,399,040; 9,486,406; and 9,855,246;

       (ii)    due to Sandoz no longer seeking approval until after the expiration of these

               patents, this action and all claims and defenses asserted therein are DISMISSED

               WITHOUT PREJUDICE; and

       (iii)   the parties shall bear their own costs and attorneys' fees.
,-   Case 1:17-cv-00799-RGA Document 72 Filed 07/25/18 Page 2 of 2 PageID #: 1983




     MORRIS, NICHOLS, ARSHT & TUNNELL LLP               PHILLIPS, GOLDMAN, MCLAUGHLIN & HALL, P.A.

     /s/ Jack_, (}3. (}3{umenfeU                        /s/ :Megan C. Jfaney

     Jack B. Blumenfeld (#1014)                         John C. Phillips, Jr. (#110)
     Maryellen Noreika (#3208)                          Megan C. Haney (#5016)
      1201 North Market Street                          1200 North Broom Street
     P.O. Box 1347                                      Wilmington, DE 19806-4204
     Wilmington, DE 19899                               (302) 655-4200
     (302) 658-9200                                     jcp@pgmhlaw.com
     jblumenfeld@mnat.com                               mch@pgmhlaw.com
     mnoreika@mnat.com
                                                        Attorneys for Defendant Sandoz, Inc.
     Attorneys for Plaintiff Omeros Corporation

     July 24, 2018



                                                  SO ORDERED this      2i      day o f ~ 2018.




                                                    2
